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                     United States Court of Appeals
                                     For the First Circuit
                                         _____________________

      No. 22-1507

                                              LIDIA LECH,

                                           Plaintiff - Appellant,

                                                     v.

           DOROTHEA VON GOELER, MD; BAYSTATE MEDICAL PRACTICES, INC.;
       HAMPDEN COUNTY SHERIFF'S DEPARTMENT; MARIA DIAZ; NICOLE SKORUPSKI;
       ELIZABETH MEAUX; SHANTELLE ROSADO; JULIE BELLE-ISLE, RN; LYNN CHASE;
            MICHAEL J. ASHE, JR.; PATRICIA MURPHY; NICHOLAS COCCHI, Sheriff;
                          NATALIE CRUZ; MICHAEL VANCINI,

                                          Defendants - Appellees,

                                       JOHN DOE 1; JOHN DOE 2,

                                               Defendants.
                                         _____________________

                                          ORDER OF COURT

                                          Entered: June 22, 2023
                                       Pursuant to 1st Cir. R. 27.0(d)

             Upon consideration, Appellant Lidia Lech's motion to file volumes 5 and 6 of the appendix
      under seal is granted. The tendered sealed volumes are accepted for filing on this date.


                                                          By the Court:

                                                          Maria R. Hamilton, Clerk

      cc:
      Daniel Volchok, John R. Godleski, Kevin C. Giordano, Michael B. Doherty, Thomas Emmet Day,
      Lauren F. Olanoff, Michael G. McDonough
